              Case 6:19-bk-02033-KJ        Doc 41     Filed 01/28/20     Page 1 of 4




Dated: January 28, 2020                      ORDERED.




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


In re:                                                       Case No.: 19-bk-02033
                                                             Chapter 7
DAVID R BILLSBOROUGH
PATRICIA A BILLSBOROUGH

Debtor.                       /


          AGREED ORDER GRANTING MOTION TO SELL REAL PROPERTY
           AND PAY SECURED CREDITORS AND TRANSACTIONAL COSTS
                            (12836 Jacob Grace Ct)

         THIS CASE came before the court to consider Chapter 7 Trustee, Dennis Kennedy’s

(“Trustee”) Motion to Sell Real Property and Pay Secured Creditors and Transactional Costs

(the “Motion”) (Dkt. No. 38). The Motion was served upon all interested parties with the Local

Rule 2002-4 negative notice legend informing the parties of their opportunity to respond within

21 days of the date of service; Secured Creditor, MEB Loan Trust IV, filed a response to the

motion (DE# 36), Secured Creditor, US Bank National Association, filed a limited objection the

motion (DE# 40) and the Secured Creditors have consented to the Motion. By submission of this

order for entry, the submitting counsel represents that the opposing party consents to its entry.

Accordingly, it is:

         ORDERED and ADJUDGED as follows:

                                         Page 1 of 4 Pages
             Case 6:19-bk-02033-KJ          Doc 41    Filed 01/28/20      Page 2 of 4




       1.      The notice of the Motion is approved as proper and adequate under the circumstances.
       2.      The Motion is GRANTED.
       3.      The Trustee is authorized to sell the real property located at:

               Tildens Grove PH 1 47/65 Lot 58 as recorded in property records of Orange
               County, Florida located at 12836 Jacob Grace Court, Windermere, FL 34786 (the
               “Property”)

       4.      The Trustee is authorized to pay the servicer for the secured mortgage creditor, PHH

Mortgage Services, (“Secured Creditor”) the amount of their lien as of the date of closing or other

amount agreed to in writing by PHH Mortgage Services to release their lien.

       5.      The Trustee is authorized to pay the servicer for the secured mortgage creditor,

Select Portfolio Servicing, Inc., the amount of their lien as of the date of closing or other amount

agreed to in writing by SPS to release their lien.

       6.      The Trustee is authorized to take any all actions and to execute any and all

documents necessary and appropriate to effectuate and consummate the terms of said sale,

including, executing a deed conveying the interests of the Debtors in the Real Property to

Dr. Garth Becker and/or their assigns or other disinterested, bona fide purchaser (the “Buyer”).

       6.      The Trustee, and any escrow agent upon the Trustee’s written instruction, shall be

authorized to make such disbursements on or after the closing of the sale as are required by the

purchase agreement or order of this Court, including, but not limited to, (a) all delinquent real

property taxes and outstanding post-petition real property taxes pro-rated as of the closing with

respect to the real property included among the purchased assets; and (b) other anticipated closing

costs (estimated below):

               2% to BK Global                                               $13,270.00
               2% to Eola Park Realty                                        $13,270.00
               2% to Century 21                                              $13,270.00



                                          Page 2 of 4 Pages
             Case 6:19-bk-02033-KJ          Doc 41     Filed 01/28/20     Page 3 of 4




       Title Charges:                                                         $2,028.50
       Transfer Taxes:                                                        $4,982.00
       HOA Fees                                                               $3,882.25
       Other / Debits (incl. 506(c) surcharge)                                $45,455.21
       Satisfaction of Liens:
       PHH                    (home mortgage)                                 $582,285.96
       SPS                    (Junior lien)                                   $6,000.00
       Servpro                                                                $7,457.88

       Without further order of the court, the Trustee is authorized to pay closing costs in amounts

different than the estimated amounts described above so long as they are within industry standard

and with the written consent of the lienholder, Secured Creditor.

       7.      Except as otherwise provided in the Motion, the Real Property shall be sold,

transferred, and delivered to Buyers on an “as is, where is” or “with all faults” basis.

       8.      The Trustee is authorized to pay the real estate agent’s fees in the total amount of

$39,810.00 from the proposed sale of the property.

       9.      This Court retains jurisdiction to enforce and implement the terms and provisions

of this Order and the purchase agreement, all amendments thereto, any waivers and consents

thereunder, and each of the documents executed in connection therewith in all respects, including

retaining jurisdiction to (a) compel delivery of the Real Property to the Buyer(s), (b) resolve any

disputes arising under or related to the purchase agreement, and (c) resolve any disputes regarding

liens, claims, or interests asserted against the Real Property.

       10.     The purchase agreement and any related documents or other instruments may be

modified, amended or supplemented by the parties thereto, in a writing signed by the parties

including PHH Mortgage and SPS without further order of the Court, provided that any such

modification, amendment or supplement does not have a material adverse effect on the Debtor’s

bankruptcy estate.




                                          Page 3 of 4 Pages
             Case 6:19-bk-02033-KJ        Doc 41     Filed 01/28/20     Page 4 of 4




       11.     The 14-day appeal period provided for under B.R.C.P. Rule 6004(h) be waived so

that the sale of the Real Property may close immediately upon the entry of an order granting the

instant motion.

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Dennis Kennedy, Trustee, is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.




                                         Page 4 of 4 Pages
